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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
               vs.                           )      CRIMINAL NO. 19-CR-30046-SMY
                                             )
JOSHUA P. BRECKEL,                           )
                                             )
                              Defendant.     )


            MOTION FOR ORDER OF FINDING OF NO THIRD-PARTY INTERESTS

       Now comes the United States of America by Steven D. Weinhoeft, United States Attorney for the

Southern District of Illinois, and Christopher R. Hoell, Assistant United States Attorney, and moves that

this Court enter an Order of Finding of No Third-Party Interests pursuant to 21 U.S.C. § 853(n)(7) with

respect to the following property:


       a.      A black Alienware laptop computer having serial number 8Z16P72 and
               manufacturer number A505-S6005;
       b.      A black WD external hard drive having serial number WX81D1734386;
       c.      A silver IPhone 7having a phone number 618-960-7572;
       d.      A black Hewlett Packard desktop computer having serial number 4CE13700YL;
       e.      A grey Toshiba LG5S laptop computer having serial number 1B0388SOW;
       f.      A purple Memorex flash drive;
       g.      A silver Lexar flash drive;
       h.      A black Lexar flash drive; and
       i.      A black SanDisk flash drive.




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                                    Respectfully submitted,

                                    STEVEN D. WEINHOFT
                                    United States Attorney


                                     /s/ Christopher R. Hoell
                                     CHRISTOPHER R. HOELL
                                    Assistant United States Attorney
                                    Nine Executive Drive
                                    Fairview Heights, Illinois 62208
                                    (618) 628-3700
                                    Email: christopher.hoell@usdoj.gov




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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
              vs.                            )       CRIMINAL NO. 19-CR-30046-SMY
                                             )
JOSHUA P. BRECKEL,                           )
                                             )
                              Defendant.     )

                                     CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2020, I caused to be electronically filed the foregoing
MOTION FOR ORDER OF FINDING OF NO THIRD-PARTY INTERESTS with the Clerk of Court using
the CM/ECF system which will send notification of such filing(s) to the following:
       Jessica J. Koester




                                                     Respectfully submitted,

                                                     STEVEN D. WEINHOEFT
                                                     United States Attorney

                                                      /s/ Christopher R. Hoell
                                                     CHRISTOPHER R. HOELL
                                                     Assistant United States Attorney
                                                     Nine Executive Drive
                                                     Fairview Heights, Illinois 62208
                                                     (618) 628-3700
                                                      Email: christopher.hoell@usdoj.gov




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